                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

IN RE ANDY AND STEPHANIE HOWARD,
                                                                            Bankruptcy Case Number
                                                                               17-83536-CRJ-13
        Debtors,

ANDY AND STEPHANIE HOWARD,

        Plaintiffs,
                                                                            Adversary Proceeding No.

v.

STATE OF ALABAMA DEPARTMENT OF REVENUE

        Defendant.

                                              COMPLAINT
        The debtors in this bankruptcy case and plaintiffs in this adversary proceeding, Andy and
Stephanie Howard (“the Howards”), make the following allegations in their complaint against the
defendant, the State of Alabama Department of Revenue (“Department of Revenue”).
                              Parties, Jurisdiction, and Nature of Action
        1.       The Howards are the debtors in the above-referenced Chapter 13 bankruptcy case
 which was commenced on November 30, 2017. The Department of Revenue is a corporation
 organized and existing under the laws of the State of Alabama. At all times material to this
 complaint, the Department of Revenue regularly and systematically conducted business in the State
 of Alabama, and, in particular, within that portion of the State of Alabama lying within this court’s
 district and division. The Howards did business with the Department of Revenue within this district
 and division, and it is these business transactions that give rise to this litigation.
        2.       The Department of Revenue is listed as a creditor on Schedule D and Schedule E
 filed by the Howards. The Department of Revenue is scheduled to be paid in full as an
 unsecured priority creditor through the Chapter 13 plan.
        3.       Despite having both notice and actual knowledge of the commencement of the
 Howards’ bankruptcy case, the Department of Revenue sent a “Notice of Final Assessment of
 Individual Income Tax” to the Howards post-petition. The debtors argue this notice was violative of 11
 U.S.C § 362(A)(3) and (A)(6), in that the notice was an “act to obtain possession of property of the



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estate or of property from the estate or to exercise control over property of the estate” or an “act to
collect” a debt.
       4.          The Howards bring this action to recover actual damages sustained as a result of the
Department of Revenue’s willful violation of the Automatic Stay in this case and to recover punitive
damages from the Department of Revenue for that violation.
       5.          The debtor contends that the notice sent by the Department of Revenue was a
violation of the Automatic Stay. The communication by the Department of Revenue was not
informational only. The notice states “BALANCE NOW DUE,” in the amount of $964.84
including tax, interest, estimate penalty, and a negligence penalty for the fiscal year ending
12/31/2014. (See Exhibit A). It should be noted, that the Department of Revenue filed 5 Proofs of
Claim in the debtor’s case prior to sending the collection correspondence, including Proof of Claim
number 11, for 2014, the very year indicated in the collection letter sent by the Department of
Revenue.
       6.          The debtors argue that the notice sent by Department of Revenue overtly demands
payment and has the effect of coercing payment. See Connor v. Countrywide Bank, N.A. (In re
Connor), 366 B.R. 133, 137-38 (Bankr.D.Haw.2007). The coercive nature of the notice is pervasive
throughout the statement. The arrangement and display of the information is very telling as to the
Department of Revenue’s intent. The debtors argue the correspondence is clearly an overt and
coercive attempt to collect, violative of 11 U.S.C. §362. The Department of Revenue made a
conscious decision to intentionally pressure the debtor. It was not an accident, oversight, or
computer error. It was an “attempt to collect” by the Department of Revenue, plain and simple.
Further, the Department of Revenue’s attempted disclaimer buried on the back of the original
document attempts to put the burden on the debtors to contact the Department of Revenue with
bankruptcy information. The burden is on the creditor to not violate the stay – not the debtor. The
Department of Revenue received notice as is evidenced by their filing of multiple claims in the case.
It is absurd that they would try and shift this burden to the debtor. It smacks of non-caring arrogance
and shows a complete disregard for automatic stay provisions embodied in Title 11.
       7.          This adversary proceeding arises in a case under Title 11 of the United States Code,
and it is a core proceeding since it concerns the administration of the Howards’ estate, requests the
return of property of the estate, and affects the adjustment of the debtor-creditor relationship
between the Howards and the Department of Revenue. Consequently, this is a core proceeding, and
this court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §157(b)(2)(A), (E),
and (O), and 28 U.S.C. §1334(b).

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                               Claim – Violation of the Automatic Stay
       8.       The Howards incorporate by reference the allegations in paragraphs one through
three of this complaint.
       9.       As a result of the Department of Revenue filing claims in the Howards’ case, the
Department of Revenue had both notice and actual knowledge of both the commencement of, and
all the proceedings in, the Howards’ bankruptcy case. The Department of Revenue filed a proof of
claim for the tax year of 2014 in the Howards’ case on February 23, 2018 in the amount of $958.98
for Individual Income Tax (12/31/2014).
       10.      Pursuant to §362(a) of the Bankruptcy Code, the commencement of the Howards’
bankruptcy case gave rise to the Automatic Stay which, among other things, prohibited the
Department of Revenue from attempting to obtain possession of property of the estate or of property
from the estate or to exercise control over the estate or attempting to collect a debt.
       11.      Despite the imposition of the Automatic Stay by the commencement of this case and
despite having both notice and actual knowledge of the commencement of this case, the Department
of Revenue sent, or caused to be sent, to the Howards a document styled “Notice of Final Assessment
of Individual Income Tax” that was unequivocally intended to obtain possession of property of the
estate or of property from the estate or to exercise control over the estate or collect a debt. Clearly, the
Department of Revenue has non-existent or grossly inadequate systems and procedures in place to
prevent such stay violations from occurring on a widespread basis.
       12.      The actions of the Department of Revenue violate 11 U.S.C § 362(A)(3) and 11 U.S.C.
§362(A)(6) as set forth in this complaint.
       13.      The Howards have sustained, and continue to sustain, injury and damage as a result of
the Department of Revenue’s violation of the Automatic Stay.
       14.      The Department of Revenue’s actions evince contempt and distain for this court, the
orders it issues, and the protection afforded by Title 11 of the United States Code. The debtors are
concerned that the notices sent by the Department of Revenue are endemic, pervasive, and
commonplace.
       15.      Under 11 U.S.C. §362(k)(1), the Howards are entitled to an award of compensatory
damages, including costs and attorney’s fees, and punitive damages against the Department of
Revenue for its willful violation of the automatic stay. The debtors were greatly upset by the
Department of Revenue’s specific threat to “record a tax lien and initiate collection procedures.”
This court should consider encouraging the Department of Revenue to take a “fresh look” at its
internal procedures to ensure that they are designed to prevent violations of 11 U.S.C. §362. See

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McLean v. Green Point Credit LLC (In re McLean), No. 12-11045-WRS, 2013 WL 5963358, at *4
(Bankr.M.D.Ala Nov.8, 2013).


       WHEREFORE, the Howards ask this court to enter an order:
              (A) Awarding the Howards compensatory damages against the Department of
                 Revenue, including the reasonable attorney’s fees and costs incurred by the
                 Howards in the preparation and prosecution of this adversary proceeding;
              (B) Imposing coercive sanctions in favor of the Howards and against the Department
                 of Revenue for its willful violation of the Automatic Stay, such damages being
                 intended to instill in the Department of Revenue and other creditors due respect
                 for this court and its orders and to deter them from taking similar action against
                 the Howards and similarly situated debtors in the future;
              (C) Voiding the tax debt owed by the Howards to the Department of Revenue in its
                 entirety.
              (D) Granting the Howards any additional or different relief this court deems
                 appropriate.


Dated: 09/07/2018                                   Respectfully submitted
                                                    /s/ John C. Larsen_________________
                                                    John C. Larsen
                                                    Attorney for the debtor/plaintiff
OF COUNSEL:
LARSEN LAW P.C.
1733 Winchester Road
Huntsville, Alabama 35811
(256) 859-3008
john@jlarsenlaw.com




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